Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1527 Page 1 of 6
Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1528 Page 2 of 6
Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1529 Page 3 of 6
Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1530 Page 4 of 6
Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1531 Page 5 of 6
Case 2:11-cr-00181-WFN   ECF No. 547   filed 09/26/12   PageID.1532 Page 6 of 6
